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                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       CHRISTOPHER ALLAN BODEN                                                   DISTRICT JUDGE:            Robert J. Jonker

    CASE NUMBER                       DATE               TIME (begin/end)              PLACE                      INTERPRETER
       1:21-cr-40                    10/18/21         3 - 3:46 p.m.                 Grand Rapids




                                                             APPEARANCES
Government:                                             Defendant:                                         Counsel Designation:
Justin Presant                                          Brian Lennon                                       Retained

             TYPE OF HEARING                                 DOCUMENTS                                     CHANGE OF PLEA
    Arraignment:                                    Defendant's Rights                    Charging Document:
       mute             nolo contendre                                                         ✔   Read         Reading Waived
                                                    Waiver of Indictment
       not guilty       guilty                                                            Guilty Plea to Count(s) 2, 16, 21
                                                    Other:
    Final Pretrial Conference                                                             of the Indictment
    Detention        (waived     )
                                                                                          Count(s) to be dismissed at sentencing:
    Motion Hearing
                                                                                          1, 3-15, 17-20, 22-28
    Revocation/SRV/PV                           Court to Issue:

    Bond Violation                                  Order of Detention                     ✔    Presentence Report Ordered
✔   Change of Plea
                                                ✔   Notice of Sentencing                        Presentence Report Waived
                                                    Order Appointing Counsel               ✔    Plea Accepted by the Court
    Sentencing
    Trial                                           Other:                                      Plea Taken under Advisement
    Other:                                                                                      No Written Plea Agreement

                                                              SENTENCING

Imprisonment:                                                         Plea Agreement Accepted:            Yes   No

Probation:                                                            Defendant informed of right to appeal:         Yes    No
Supervised Release:                                                   Counsel informed of obligation to file appeal:       Yes       No

Fine: $                                                               Conviction Information:
Restitution: $                                                            Date:
                                                                          By:
Special Assessment: $
                                                                          As to Count (s):

ADDITIONAL INFORMATION:
Defense counsel asks for an amendment of the bond conditions regarding contact with co-defendant. Government to advise the
Court in writing by 10/22/21 as to whether it objects or not.



                    CUSTODY/RELEASE STATUS                                              BOND AMOUNT AND TYPE

Continued on Bond                                                        $

CASE TO BE:                                                            TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                               Case Manager:        S. Bourque
